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                    IN THE IOWA DISTRICT COURT FOR POLK COUNTY


BRADLEY A. CHICOINE, D.C., DR.
BRADLEY A. CHICOINE, D.C., P.C., MARK                Law No. CVCV050638
A. NILES, D.C, NILES CHIROPRACTIC,
INC., ROD R. REBARCAK, D.C., and BEN
WINECOFF, D.C., on behalf of themselves
and those like situated,

      Plaintiffs,

and

STEVEN A. MUELLER, D.C., BRADLEY J.
BROWN, D.C., MARK A. KRUSE, D.C.,
KEVIN D. MILLER, D.C., and LARRY E.                  NOTICE OF REMOVAL
PHIPPS, D.C., on behalf of themselves and            OF CIVIL ACTION
those like situated,

       Plaintiffs,

v.

WELLMARK, INC. d/b/a WELLMARK
BLUE CROSS AND BLUE SHIELD OF
IOWA, an Iowa corporation, and
WELLMARK HEALTH PLAN OF IOWA,
INC., and Iowa corporation,

       Defendants.


TO:    Clerk of Court, Iowa District Court in and for Polk County, Iowa

       Please take notice that on June 14, 2017, in the above-captioned case, Defendants,

Wellmark, Inc. d/b/a Wellmark Blue Cross and Blue Shield of Iowa, and Wellmark Health Plan

of Iowa, Inc., filed a notice of removal, a copy of which is attached hereto, in the United States

District Court for the Southern District of Iowa, Central Division.




                                                                                   EXHIBIT 5
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                                            /s/ Benjamin P. Roach
                                            Benjamin P. Roach AT0006588
                                            NYEMASTER GOODE, P.C.
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                                            Des Moines, IA 50309
                                            Telephone: (515) 283-3100
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                               CERTIFICATE OF SERVICE

      I hereby certify that on June 14, 2017, I presented the foregoing document to the Clerk of
the Court for filing and uploading into the EDMS system, which will send notification to the
EDMS system participants.



                                                   /s/ Benjamin P. Roach




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                        UNITED STATE DISTRICT COURT
                         SOUTHERN DISTRICT OF IOWA
                             CENTRAL DIVISION


BRADLEY A. CHICOINE, D.C., DR.               No. 4:17-cv-00210
BRADLEY A. CHICOINE, D.C., P.C.,
MARK A. NILES, D.C., NILES
CHIROPRACTIC, INC., ROD R.
REBARCAK, D.C., and BEN
WINECOFF, D.C., on behalf of
themselves and those like situated,

and

STEVEN A. MUELLER, D.C.,
BRADLEY J. BROWN, D.C., BROWN                        NOTICE OF REMOVAL
CHIROPRACTIC, P.C., MARK A.
KRUSE, D.C., DR. MARK A. KRUSE,
D.C., P.C., KEVIN D. MILLER, D.C.,
and LARRY E. PHIPPS, D.C., on behalf
of themselves and those like situated,

      Plaintiffs,

v.

WELLMARK INC. d/b/a WELLMARK
BLUE CROSS AND BLUE SHIELD OF
IOWA, an Iowa corporation, and
WELLMARK HEALTH PLAN OF
IOWA, INC., an Iowa corporation,

      Defendants.


      COME NOW, Defendants Wellmark, Inc. d/b/a Wellmark Blue Cross and

Blue Shield of Iowa and Wellmark Health Plan of Iowa, Inc. (“Wellmark”) and file

this Notice of Removal of this case from the Iowa District Court for Polk County, in
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which it is now pending, to the United States District Court, Southern District of

Iowa, Central Division. In support of this Notice of Removal, Wellmark states:

        1.    On October 5, 2015, plaintiffs, individually and on behalf of all others

similarly situated, commenced this civil action in the Iowa District Court for Polk

County, bearing Case Number CVCV050638. Polk County is within the jurisdiction

of the Southern District of Iowa. Defendant Wellmark was served with a copy of the

Class Action Petition for Damages on October 6, 2015.

        2.    The action alleges that Wellmark conspired with the Blue Cross Blue

Shield Association (“BCBSA”), thirty-five of BCBSA’s Blue Cross Blue Shield

member Plans (“Blue Plans”) from all around the country, and an unspecified group

of Wellmark’s self-funded accounts in violation of the Iowa Competition Act, Iowa

Code § 553.4 (2007), et seq., through market allocation and price fixing agreements.

However, in an attempt to avoid federal jurisdiction, plaintiffs chose only to name

Wellmark—not BCBSA or its member Plans.

        3.    On December 4, 2015, Wellmark filed a motion for stay, which was

granted on January 28, 2016 by the Honorable Michael D. Huppert.                 Plaintiffs

appealed Judge Huppert’s order, and the Supreme Court of Iowa vacated the order

and remanded for further proceedings. Judge Huppert lifted the stay on May 16,

2017.

        4.    Pursuant to 28 U.S.C. § 1446(a), a copy of all pleadings, process, and

orders that have been served on Defendants are attached hereto as Exhibits A

through KK.



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DIVERSITY JURISDICTION

       5.     The Class Action Fairness Act (“CAFA”) provides that a class action

may be removed if: (a) membership in the class is not less than 100; (b) any member

of the plaintiff class is a citizen of a foreign country or a state different from any

defendant; and (c) the aggregate amount in controversy exceeds $5,000,000. See 28

U.S.C. §§ 1453(b), 1332(d). All three requirements are met here.

       6.     CAFA’s first requirement—that class membership be no less than

100—is easily satisfied here.        The putative class is alleged to consist of

“approximately 1200 chiropractors.” (Exhibit B, Petition at Law, at ¶ 20.)

       7.     CAFA’s second requirement—that any one member of the purported

class be a citizen of a state different from any defendant—is also satisfied here.

Plaintiff alleges that Wellmark acted in conspiracy with BCBSA, an Illinois

corporation located in Chicago, Illinois, but chose not to name BCBSA as a

defendant. However, BCBSA (not Wellmark) owns and licenses the Blue Cross®

and Blue Shield® trademarks (“Blue Marks”). BCBSA (not Wellmark) administers

the BlueCard Program. BCBSA therefore has an interest relating to the subject of

this action and its absence as a defendant herein, as a practical matter, impedes its

ability to protect that interest.

       8.     BCBSA is a primary defendant in this matter.

       9.     Accordingly, BCBSA has been improperly omitted as a defendant from

this lawsuit. BCBSA has moved to intervene as a defendant. (Exhibit KK, Motion

to Intervene.) If the motion is granted, minimal diversity will exist.



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       10.    CAFA’s third and final requirement—that the aggregate amount in

controversy exceed $5,000,000, exclusive of interest and costs—is also easily

satisfied.

       11.    In order to invoke federal jurisdiction, Wellmark merely must provide

an estimate of the amount in controversy which is “plausible and adequately

supported by the evidence.” Bloomberg v. Service Corp. Intl, 639 F.3d 781, 763 (7th

Cir. 2011).   The Eighth Circuit has made clear that this simply is a “pleading

requirement, not a demand for proof,” and that “[t]he removing party need not

confess liability in order to show that the controversy exceeds the threshold.”

Hartis v. Chi. Title Ins. Co., 694 F.3d 935, 945 (8th Cir. 2012) (internal quotations

omitted). “Once the proponent of federal jurisdiction has explained plausibly how

the stakes exceed $5,000,000 . . . the case belongs in federal court unless it is legally

impossible for the plaintiff to recover that much.”       Bloomberg, 639 F.3d at 764

(internal citations omitted).

       12.    Wellmark estimates that plaintiffs seek to recover more than

$5,000,000 in this case. Among other things, plaintiffs seek damages on behalf of a

putative class of 1,200 chiropractors over a thirteen-year period.           (Exhibit B,

Petition at Law, at ¶¶ 20, 28 and 40.)            Plaintiffs further allege that Iowa

chiropractors are paid “much less than 50% of what Wellmark defendants and their

co-conspirators pay other health care practitioners in Iowa for the same or similar

services.” (Id. at ¶ 40.) And $5 million is a small fraction of what Wellmark pays

all Iowa chiropractors in just one year.



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      13.       During the three-year period preceding the filing of this matter, one or

more other class actions asserting the same or similar claims on behalf of the same

or other persons has been filed. (E.g., 9/30/14 Consol. 2d Am. Compl. ¶ 51 (Provider

Track), In re BCBS Antitrust Litigation, No. 2:13-CV-20000-RDP (N.D. Ala.).)

PROCEDURAL REQUIREMENTS UNDER REMOVAL STATUTE

      14.       This Notice of Removal is timely. “A class action may be removed to a

district court of the United States in accordance with section 1446 (except that the

1-year limitation under section 1446(c)(1) shall not apply), without regard to

whether any defendant is a citizen of the State in which the action is brought,

except that such action may be removed by any defendant without the consent of all

defendants.” 28 U.S.C. § 1453(b). In turn, § 1446(b) provides that “if the case

stated by the initial pleading is not removable, a notice of removal may be filed

within 30 days after receipt by the defendant, through service or otherwise, or a

copy of an amended pleading, motion, order or other paper from which it may first

be ascertained that the case is one which is or has become removable.” 28 U.S.C.

§ 1446(b)(3).

      15.       On June 14, 2017, BCBSA filed a motion to intervene in this litigation

in the Iowa District Court for Polk County, under Iowa Rules of Civil Procedure

1.407(1) and 1.407(2).      (Exhibit KK, Motion to Intervene.)      BCBSA’s motion, if

granted, creates minimal diversity sufficient to confer federal jurisdiction.

      16.       BCBSA’s motion to intervene was delivered to Wellmark by BCBSA’s

counsel on or about June 14, 2017. The date of this Notice of Removal is within



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thirty days of receipt of the motion by Wellmark.          Accordingly, this Notice of

Removal is timely under 28 U.S.C. § 1446(b) and § 1453(b).

      17.    Pursuant to 28 U.S.C. § 1446(d), copies of this Notice of Removal are

being served upon counsel for Plaintiff and filed with the Clerk of the Iowa District

Court for Polk County.

      18.    By filing this Notice of Removal, Wellmark does not waive any defense,

argument, or principle of equity which may be available to it.

      19.    Based upon the foregoing, Wellmark respectfully submits that: (i) this

Court has diversity jurisdiction under 28 U.S.C. §§ 1332, 1441, 1446, and 1453; and

(ii) the procedural requirements of 28 U.S.C. § 1446 are met.

      WHEREFORE, the above-described action now pending against Wellmark in

the Iowa District Court for Polk County is removed to the United States District

Court for the Southern District of Iowa.




                                        /s/ Benjamin P. Roach
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                          CERTIFICATE OF SERVICE

       I hereby certify that on June 14, 2017, I presented the foregoing document to
the Clerk of the Court for filing and uploading into the ECF system, which will send
notification to the following ECF system participants.

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ATTORNEYS FOR PLAINTIFFS




                                               /s/ Benjamin P. Roach




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